               Case 8:20-bk-13359-TA                  Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                               Desc
                                                      Main Document    Page 1 of 55
 Fill in this information to identify your case:

     8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH

     Central District of California
     BBBBBBBBBBBBBBBBBBBB 'LVWULFWRIBBBBBBBBBBBBBBBBB
                                          6WDWH 
     &DVHQXPEHU If known  BBBBBBBBBBBBBBBBBBBBBBBBB&KDSWHU\RXDUHILOLQJXQGHU
                                                              &KDSWHU
                                                              &KDSWHU
                                                              &KDSWHU
                                                           
                                                           ✔   &KDSWHU                                                &KHFNLIWKLVLVDQ
                                                                                                                            DPHQGHGILOLQJ


2IILFLDO)RUP
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                              

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                            About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       :ULWHWKHQDPHWKDWLVRQ\RXU
       JRYHUQPHQWLVVXHGSLFWXUH
                                         Michael
                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
       LGHQWLILFDWLRQ IRUH[DPSOH     )LUVWQDPH                                                )LUVWQDPH
       \RXUGULYHU¶VOLFHQVHRU          L
                                        __________________________________________________         __________________________________________________
       SDVVSRUW                        0LGGOHQDPH                                               0LGGOHQDPH

       %ULQJ\RXUSLFWXUH                Duivis
                                        __________________________________________________         __________________________________________________
       LGHQWLILFDWLRQWR\RXUPHHWLQJ   /DVWQDPH                                                 /DVWQDPH
       ZLWKWKHWUXVWHH                BBBBBBBBBBBBBBBBBBBBBBBBBBB                               BBBBBBBBBBBBBBBBBBBBBBBBBBB
                                        6XIIL[ 6U-U,,,,,                                  6XIIL[ 6U-U,,,,, 




2.     All other names you
       have used in the last 8
       years
       ,QFOXGH\RXUPDUULHGRU
       PDLGHQQDPHV




3.     Only the last 4 digits of                        9     2     3     2
       your Social Security             [[[ ± [[ ± BBBBBBBBBBBBBBBB                     [[[ ± [[ ± BBBBBBBBBBBBBBBB
       number or federal                25                                                        25
       Individual Taxpayer
       Identification number            9 [[± [[ ±BBBBBBBBBBBBBBBB                    9 [[± [[ ±BBBBBBBBBBBBBBBB
        ,7,1


      2IILFLDO)RUP                              Voluntary Petition for Individuals Filing for Bankruptcy                           SDJH 
             Case 8:20-bk-13359-TA                             Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                                    Desc
               Michael L Duivis
                                                               Main Document    Page 2 of 55
'HEWRU       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                               &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                )LUVW1DPH   0LGGOH1DPH               /DVW1DPH




                                             About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                             ,KDYHQRWXVHGDQ\EXVLQHVVQDPHVRU(,1V                   ,KDYHQRWXVHGDQ\EXVLQHVVQDPHVRU(,1V
     Identification Numbers
     (EIN) you have used in                  Straight-Up Fitness, LLC
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     the last 8 years                        %XVLQHVVQDPH                                                  %XVLQHVVQDPH

     ,QFOXGHWUDGHQDPHVDQG
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     doing business asQDPHV                 %XVLQHVVQDPH                                                  %XVLQHVVQDPH


                                             XX-XXXXXXX
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             (,1                                                            (,1

                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                             (,1                                                           (,1



5.   Where you live                                                                                         If Debtor 2 lives at a different address:


                                             1192 Citrus Dr                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             1XPEHU    6WUHHW                                             1XPEHU    6WUHHW


                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


                                             La Habra                             CA        90631
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             &LW\                           6WDWH  =,3&RGH             &LW\                           6WDWH  =,3&RGH

                                             Orange County                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             &RXQW\                                                        &RXQW\


                                             If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                             above, fill it in here. 1RWHWKDWWKHFRXUWZLOOVHQG         yours, fill it in here.1RWHWKDWWKHFRXUWZLOOVHQG
                                             DQ\QRWLFHVWR\RXDWWKLVPDLOLQJDGGUHVV                   DQ\QRWLFHVWRWKLVPDLOLQJDGGUHVV


                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             1XPEHU    6WUHHW                                             1XPEHU    6WUHHW

                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             _________________________________________________
                                             32%R[                                                      32%R[

                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             &LW\                           6WDWH  =,3&RGH             &LW\                           6WDWH  =,3&RGH




6.   Why you are choosing                    Check one:                                                     Check one:
     this district to file for
     bankruptcy                              
                                             ✔ 2YHUWKHODVWGD\VEHIRUHILOLQJWKLVSHWLWLRQ,         2YHUWKHODVWGD\VEHIRUHILOLQJWKLVSHWLWLRQ,
                                                KDYHOLYHGLQWKLVGLVWULFWORQJHUWKDQLQDQ\RWKHU           KDYHOLYHGLQWKLVGLVWULFWORQJHUWKDQLQDQ\RWKHU
                                                GLVWULFW                                                      GLVWULFW

                                              ,KDYHDQRWKHUUHDVRQ([SODLQ                               ,KDYHDQRWKHUUHDVRQ([SODLQ
                                                    6HH86&                                          6HH86&




     2IILFLDO)RUP                                      Voluntary Petition for Individuals Filing for Bankruptcy                                   SDJH 
                Case 8:20-bk-13359-TA                               Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                                                     Desc
                  Michael L Duivis
                                                                    Main Document    Page 3 of 55
 'HEWRU         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                          &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                   )LUVW1DPH       0LGGOH1DPH             /DVW1DPH




 Pa rt 2 :  T e ll t he Court About Y our Ba nk ruptc y Ca se 


 7.    The chapter of the                           Check one. )RUDEULHIGHVFULSWLRQRIHDFKVHHNotice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                          for Bankruptcy )RUP $OVRJRWRWKHWRSRISDJHDQGFKHFNWKHDSSURSULDWHER[
       are choosing to file
       under
                                                     &KDSWHU
                                                     &KDSWHU
                                                     &KDSWHU
                                                    
                                                    ✔ &KDSWHU




 8.    How you will pay the fee                    
                                                    ✔
                                                      I will pay the entire fee when I file my petition3OHDVHFKHFNZLWKWKHFOHUN¶VRIILFHLQ\RXU
                                                       ORFDOFRXUWIRUPRUHGHWDLOVDERXWKRZ\RXPD\SD\7\SLFDOO\LI\RXDUHSD\LQJWKHIHH
                                                       \RXUVHOI\RXPD\SD\ZLWKFDVKFDVKLHU¶VFKHFNRUPRQH\RUGHU,I\RXUDWWRUQH\LV
                                                       VXEPLWWLQJ\RXUSD\PHQWRQ\RXUEHKDOI\RXUDWWRUQH\PD\SD\ZLWKDFUHGLWFDUGRUFKHFN
                                                       ZLWKDSUHSULQWHGDGGUHVV

                                                     I need to pay the fee in installments,I\RXFKRRVHWKLVRSWLRQVLJQDQGDWWDFKWKH
                                                       Application for Individuals to Pay The Filing Fee in Installments 2IILFLDO)RUP$ 

                                                     I request that my fee be waived <RXPD\UHTXHVWWKLVRSWLRQRQO\LI\RXDUHILOLQJIRU&KDSWHU
                                                       %\ODZDMXGJHPD\EXWLVQRWUHTXLUHGWRZDLYH\RXUIHHDQGPD\GRVRRQO\LI\RXULQFRPHLV
                                                       OHVVWKDQRIWKHRIILFLDOSRYHUW\OLQHWKDWDSSOLHVWR\RXUIDPLO\VL]HDQG\RXDUHXQDEOHWR
                                                       SD\WKHIHHLQLQVWDOOPHQWV ,I\RXFKRRVHWKLVRSWLRQ\RXPXVWILOORXWWKHApplication to Have the
                                                       Chapter 7 Filing Fee Waived 2IILFLDO)RUP% DQGILOHLWZLWK\RXUSHWLWLRQ


9.     Have you filed for               
                                        ✔ 1R
       bankruptcy within the
       last 8 years?                     <HV         'LVWULFWBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB:KHQBBBBBBBBBBBBBB&DVHQXPEHUBBBBBBBBBBBBBBBBBB


                                                       'LVWULFWBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB:KHQBBBBBBBBBBBBBB&DVHQXPEHUBBBBBBBBBBBBBBBBBB


                                                       'LVWULFWBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB:KHQBBBBBBBBBBBBBB&DVHQXPEHUBBBBBBBBBBBBBBBBBB




 10.   Are any bankruptcy               ✔ 1R
       cases pending or being
       filed by a spouse who is          <HV
       not filing this case with
       you, or by a business
       partner, or by an       'HEWRU BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB5HODWLRQVKLSWR\RX BBBBBBBBBBBBBBBBBBBBBBBB
       affiliate?              'LVWULFW BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB:KHQBBBBBBBBBBBBBBB &DVHQXPEHULINQRZQBBBBBBBBBBBBBBBBBB



                                        'HEWRUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                    5 HODWLRQVKLSWR\RXBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                        'LVWULFWBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB:KHQBBBBBBBBBBBBBBB&DVHQXPEHULINQRZQBBBBBBBBBBBBBBBBBB


11.    Do you rent your                             
                                                    ✔ 1R   *RWROLQH
       residence?                                    <HV   +DV\RXUODQGORUGREWDLQHGDQHYLFWLRQMXGJPHQWDJDLQVW\RX"


                                                                  1R*RWROLQH
                                                                  <HV)LOORXWInitial Statement About an Eviction Judgment Against You )RUP$ DQGILOHLWZLWK
                                                                   WKLVEDQNUXSWF\SHWLWLRQ




       2IILFLDO)RUP                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                     SDJH 
              Case 8:20-bk-13359-TA                               Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                                  Desc
                Michael L Duivis
                                                                  Main Document    Page 4 of 55
'HEWRU        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 )LUVW1DPH      0LGGOH1DPH              /DVW1DPH




Pa rt 3 :  Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or 


12.   Are you a sole proprietor                  ✔ 1R*RWR3DUW
                                                 
      of any full- or part-time
      business?                                   <HV1DPHDQGORFDWLRQRIEXVLQHVV
      $VROHSURSULHWRUVKLSLVD
      EXVLQHVV\RXRSHUDWHDVDQ                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                           1DPHRIEXVLQHVVLIDQ\
      LQGLYLGXDODQGLVQRWD
      VHSDUDWHOHJDOHQWLW\VXFKDV
      DFRUSRUDWLRQSDUWQHUVKLSRU                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                           1XPEHU   6WUHHW
      //&
      ,I\RXKDYHPRUHWKDQRQH
                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      VROHSURSULHWRUVKLSXVHD
      VHSDUDWHVKHHWDQGDWWDFKLW
      WRWKLVSHWLWLRQ                                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB       BBBBBBB   BBBBBBBBBBBBBBBBBBBBBBBBBB
                                                            &LW\                                                 6WDWH     =,3&RGH


                                                           Check the appropriate box to describe your business:
                                                              +HDOWK&DUH%XVLQHVV DVGHILQHGLQ86& $
                                                              6LQJOH$VVHW5HDO(VWDWH DVGHILQHGLQ86& %
                                                              6WRFNEURNHU DVGHILQHGLQ86& $
                                                              &RPPRGLW\%URNHU DVGHILQHGLQ86& 
                                                              1RQHRIWKHDERYH

                                                 ,I\RXDUHILOLQJXQGHU&KDSWHUWKHFRXUWPXVWNQRZZKHWKHU\RXDUHDVPDOOEXVLQHVVGHEWRURUDGHEWRU
13.   Are you filing under                       FKRRVLQJWRSURFHHGXQGHU6XEFKDSWHU9VRWKDWLWFDQVHWDSSURSULDWHGHDGOLQHV,I\RXLQGLFDWHWKDW\RX
      Chapter 11 of the                          DUHDVPDOOEXVLQHVVGHEWRURU\RXDUHFKRRVLQJWRSURFHHGXQGHU6XEFKDSWHU9\RXPXVWDWWDFK\RXU
      Bankruptcy Code and                        PRVWUHFHQWEDODQFHVKHHWVWDWHPHQWRIRSHUDWLRQVFDVKIORZVWDWHPHQWDQGIHGHUDOLQFRPHWD[UHWXUQRU
      are you a small business                   LIDQ\RIWKHVHGRFXPHQWVGRQRWH[LVWIROORZWKHSURFHGXUHLQ86&  % 
      debtorRUDGHEWRUDV
                                                 ✔ 1R ,DPQRWILOLQJXQGHU&KDSWHU
                                                 
      GHILQHGE\86&
        "                                    1R ,DPILOLQJXQGHU&KDSWHUEXW,DP127DVPDOOEXVLQHVV GHEWRU DFFRUGLQJWRWKHGHILQLWLRQLQ
                                                           WKH%DQNUXSWF\&RGH
      )RUDGHILQLWLRQRIsmall
      business debtorVHH                        <HV,DPILOLQJXQGHU&KDSWHUDQG,DPDVPDOOEXVLQHVVGHEWRUDFFRUGLQJWRWKHGHILQLWLRQLQWKH
      86& '                                 %DQNUXSWF\&RGHDQG,GRQRWFKRRVHWRSURFHHGXQGHU6XEFKDSWHU9RI&KDSWHU

                                                  <HV,DPILOLQJXQGHU&KDSWHU,DPDGHEWRUDFFRUGLQJWRWKHGHILQLWLRQLQ  RIWKH
                                                    %DQNUXWSF\&RGHDQG,FKRRVHWRSURFHHGXQGHU6XEFKDWSHU9RI&KDSWHU

Pa rt 4 :    Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion 
14.   Do you own or have any                     
                                                 ✔ 1R
      property that poses or is
      alleged to pose a threat                    <HV    :KDWLVWKHKD]DUG"
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                            ,ILPPHGLDWHDWWHQWLRQLVQHHGHGZK\LVLWQHHGHG"
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                            :KHUHLVWKHSURSHUW\"




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               Michael L Duivis
                                                              Main Document    Page 5 of 55
'HEWRU       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                   &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                )LUVW1DPH    0LGGOH1DPH             /DVW1DPH




Pa rt 5 :  Ex pla in Y our Effort s t o Re c e ive a Brie fing About Cre dit Counse ling 

                                              About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                   You must check one:                                                You must check one:
      counseling.
                                              
                                              ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                 counseling agency within the 180 days before I                      counseling agency within the 180 days before I
      7KHODZUHTXLUHVWKDW\RX                  filed this bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
      UHFHLYHDEULHILQJDERXWFUHGLW            certificate of completion.                                          certificate of completion.
      FRXQVHOLQJEHIRUH\RXILOHIRU
                                                 $WWDFKDFRS\RIWKHFHUWLILFDWHDQGWKHSD\PHQW                    $WWDFKDFRS\RIWKHFHUWLILFDWHDQGWKHSD\PHQW
      EDQNUXSWF\<RXPXVW
                                                 SODQLIDQ\WKDW\RXGHYHORSHGZLWKWKHDJHQF\                   SODQLIDQ\WKDW\RXGHYHORSHGZLWKWKHDJHQF\
      WUXWKIXOO\FKHFNRQHRIWKH
      IROORZLQJFKRLFHV,I\RX                I received a briefing from an approved credit                     I received a briefing from an approved credit
      FDQQRWGRVR\RXDUHQRW                  counseling agency within the 180 days before I                      counseling agency within the 180 days before I
      HOLJLEOHWRILOH                          filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but I do not have a
                                                 certificate of completion.                                          certificate of completion.
      ,I\RXILOHDQ\ZD\WKHFRXUW
                                                 :LWKLQGD\VDIWHU\RXILOHWKLVEDQNUXSWF\SHWLWLRQ             :LWKLQGD\VDIWHU\RXILOHWKLVEDQNUXSWF\SHWLWLRQ
      FDQGLVPLVV\RXUFDVH\RX
                                                 \RX0867ILOHDFRS\RIWKHFHUWLILFDWHDQGSD\PHQW                 \RX0867ILOHDFRS\RIWKHFHUWLILFDWHDQGSD\PHQW
      ZLOOORVHZKDWHYHUILOLQJIHH
                                                 SODQLIDQ\                                                       SODQLIDQ\
      \RXSDLGDQG\RXUFUHGLWRUV
      FDQEHJLQFROOHFWLRQDFWLYLWLHV          I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      DJDLQ                                     services from an approved agency, but was                           services from an approved agency, but was
                                                 unable to obtain those services during the 7                        unable to obtain those services during the 7
                                                 days after I made my request, and exigent                           days after I made my request, and exigent
                                                 circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                                 of the requirement.                                                 of the requirement.
                                                 7RDVNIRUDGD\WHPSRUDU\ZDLYHURIWKH                         7RDVNIRUDGD\WHPSRUDU\ZDLYHURIWKH
                                                 UHTXLUHPHQWDWWDFKDVHSDUDWHVKHHWH[SODLQLQJ                     UHTXLUHPHQWDWWDFKDVHSDUDWHVKHHWH[SODLQLQJ
                                                 ZKDWHIIRUWV\RXPDGHWRREWDLQWKHEULHILQJZK\                   ZKDWHIIRUWV\RXPDGHWRREWDLQWKHEULHILQJZK\
                                                 \RXZHUHXQDEOHWRREWDLQLWEHIRUH\RXILOHGIRU                   \RXZHUHXQDEOHWRREWDLQLWEHIRUH\RXILOHGIRU
                                                 EDQNUXSWF\DQGZKDWH[LJHQWFLUFXPVWDQFHV                          EDQNUXSWF\DQGZKDWH[LJHQWFLUFXPVWDQFHV
                                                 UHTXLUHG\RXWRILOHWKLVFDVH                                     UHTXLUHG\RXWRILOHWKLVFDVH
                                                 <RXUFDVHPD\EHGLVPLVVHGLIWKHFRXUWLV                          <RXUFDVHPD\EHGLVPLVVHGLIWKHFRXUWLV
                                                 GLVVDWLVILHGZLWK\RXUUHDVRQVIRUQRWUHFHLYLQJD                  GLVVDWLVILHGZLWK\RXUUHDVRQVIRUQRWUHFHLYLQJD
                                                 EULHILQJEHIRUH\RXILOHGIRUEDQNUXSWF\                           EULHILQJEHIRUH\RXILOHGIRUEDQNUXSWF\
                                                 ,IWKHFRXUWLVVDWLVILHGZLWK\RXUUHDVRQV\RXPXVW               ,IWKHFRXUWLVVDWLVILHGZLWK\RXUUHDVRQV\RXPXVW
                                                 VWLOOUHFHLYHDEULHILQJZLWKLQGD\VDIWHU\RXILOH             VWLOOUHFHLYHDEULHILQJZLWKLQGD\VDIWHU\RXILOH
                                                 <RXPXVWILOHDFHUWLILFDWHIURPWKHDSSURYHG                       <RXPXVWILOHDFHUWLILFDWHIURPWKHDSSURYHG
                                                 DJHQF\DORQJZLWKDFRS\RIWKHSD\PHQWSODQ\RX                   DJHQF\DORQJZLWKDFRS\RIWKHSD\PHQWSODQ\RX
                                                 GHYHORSHGLIDQ\,I\RXGRQRWGRVR\RXUFDVH                   GHYHORSHGLIDQ\,I\RXGRQRWGRVR\RXUFDVH
                                                 PD\EHGLVPLVVHG                                                   PD\EHGLVPLVVHG
                                                 $Q\H[WHQVLRQRIWKHGD\GHDGOLQHLVJUDQWHG                     $Q\H[WHQVLRQRIWKHGD\GHDGOLQHLVJUDQWHG
                                                 RQO\IRUFDXVHDQGLVOLPLWHGWRDPD[LPXPRI                    RQO\IRUFDXVHDQGLVOLPLWHGWRDPD[LPXPRI
                                                 GD\V                                                               GD\V

                                               I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                 credit counselingbecause of:                                       credit counseling because of:

                                                  Incapacity.      ,KDYHDPHQWDOLOOQHVVRUDPHQWDO              Incapacity.     ,KDYHDPHQWDOLOOQHVVRUDPHQWDO
                                                                     GHILFLHQF\WKDWPDNHVPH                                          GHILFLHQF\WKDWPDNHVPH
                                                                     LQFDSDEOHRIUHDOL]LQJRUPDNLQJ                                  LQFDSDEOHRIUHDOL]LQJRUPDNLQJ
                                                                     UDWLRQDOGHFLVLRQVDERXWILQDQFHV                                UDWLRQDOGHFLVLRQVDERXWILQDQFHV
                                                  Disability.      0\SK\VLFDOGLVDELOLW\FDXVHVPH                 Disability.     0\SK\VLFDOGLVDELOLW\FDXVHVPH
                                                                     WREHXQDEOHWRSDUWLFLSDWHLQD                                  WREHXQDEOHWRSDUWLFLSDWHLQD
                                                                     EULHILQJLQSHUVRQE\SKRQHRU                                  EULHILQJLQSHUVRQE\SKRQHRU
                                                                     WKURXJKWKHLQWHUQHWHYHQDIWHU,                                WKURXJKWKHLQWHUQHWHYHQDIWHU,
                                                                     UHDVRQDEO\WULHGWRGRVR                                        UHDVRQDEO\WULHGWRGRVR
                                                  Active duty. ,DPFXUUHQWO\RQDFWLYHPLOLWDU\                    Active duty. ,DPFXUUHQWO\RQDFWLYHPLOLWDU\
                                                                     GXW\LQDPLOLWDU\FRPEDW]RQH                                    GXW\LQDPLOLWDU\FRPEDW]RQH
                                                 ,I\RXEHOLHYH\RXDUHQRWUHTXLUHGWRUHFHLYHD                   ,I\RXEHOLHYH\RXDUHQRWUHTXLUHGWRUHFHLYHD
                                                 EULHILQJDERXWFUHGLWFRXQVHOLQJ\RXPXVWILOHD                  EULHILQJDERXWFUHGLWFRXQVHOLQJ\RXPXVWILOHD
                                                 PRWLRQIRUZDLYHURIFUHGLWFRXQVHOLQJZLWKWKHFRXUW             PRWLRQIRUZDLYHURIFUHGLWFRXQVHOLQJZLWKWKHFRXUW




       2IILFLDO)RUP                                       Voluntary Petition for Individuals Filing for Bankruptcy                                        SDJH
Case 8:20-bk-13359-TA   Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56   Desc
                        Main Document    Page 6 of 55




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Case 8:20-bk-13359-TA   Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56    Desc
                        Main Document    Page 7 of 55




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Case 8:20-bk-13359-TA        Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56              Desc
                             Main Document    Page 8 of 55




                                               Certificate Number: 17082-CAC-CC-034989671


                                                              17082-CAC-CC-034989671




                    CERTIFICATE OF COUNSELING

I CERTIFY that on October 16, 2020, at 9:24 o'clock AM MST, MICHAEL L
DUIVIS received from Summit Financial Education, Inc., an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the Central District of
California, an individual [or group] briefing that complied with the provisions of
11 U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   October 16, 2020                       By:      /s/Rita Duarte


                                               Name: Rita Duarte


                                               Title:   Certified Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
Case 8:20-bk-13359-TA   Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56   Desc
                        Main Document    Page 9 of 55




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Case 8:20-bk-13359-TA               Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                                  Desc
                                    Main Document    Page 10 of 55




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,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\ )RUP 


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                                                                              ILOLQJIHH
      DQG                                                                    DGPLQLVWUDWLYHIHH
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  Q <RXUGHEWVDUHSULPDULO\FRQVXPHUGHEWV
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        DV³LQFXUUHGE\DQLQGLYLGXDO                    &KDSWHULVIRULQGLYLGXDOVZKRKDYHILQDQFLDO
      SULPDULO\IRUDSHUVRQDOIDPLO\RU                      GLIILFXOW\SUHYHQWLQJWKHPIURPSD\LQJWKHLU
      KRXVHKROGSXUSRVH´                                       GHEWVDQGZKRDUHZLOOLQJWRDOORZWKHLUQRQ
                                                                 H[HPSWSURSHUW\WREHXVHGWRSD\WKHLU
                                                                 FUHGLWRUV7KHSULPDU\SXUSRVHRIILOLQJXQGHU
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7KHW\SHVRIEDQNUXSWF\WKDWDUH                                EDQNUXSWF\GLVFKDUJHUHOLHYHV\RXDIWHU
DYDLODEOHWRLQGLYLGXDOV                                        EDQNUXSWF\IURPKDYLQJWRSD\PDQ\RI\RXU
                                                                 SUHEDQNUXSWF\GHEWV([FHSWLRQVH[LVWIRU
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                                                                 <RXVKRXOGNQRZWKDWHYHQLI\RXILOH
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                   IRULQGLYLGXDOVZLWKUHJXODU
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                                                                    GRPHVWLFVXSSRUWDQGSURSHUW\VHWWOHPHQW
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Case 8:20-bk-13359-TA               Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                                Desc
                                  Main Document    Page 11 of 55




   PRVWILQHVSHQDOWLHVIRUIHLWXUHVDQG                    \RXULQFRPHLVPRUHWKDQWKHPHGLDQLQFRPH
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   FHUWDLQGHEWVWKDWDUHQRWOLVWHGLQ\RXU                  GHSHQGLQJRQWKHUHVXOWVRIWKH0HDQV7HVWWKH
     EDQNUXSWF\SDSHUV                                        86WUXVWHHEDQNUXSWF\DGPLQLVWUDWRURU
                                                                 FUHGLWRUVFDQILOHDPRWLRQWRGLVPLVV\RXUFDVH
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   LQWHQWLRQDOLQMXULHVWKDW\RXLQIOLFWHGDQG
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   GHDWKRUSHUVRQDOLQMXU\FDXVHGE\                         WRSD\\RXUGHEWVVXEMHFWWR\RXUULJKWWR
     RSHUDWLQJDPRWRUYHKLFOHYHVVHORU                      H[HPSWWKHSURSHUW\RUDSRUWLRQRIWKH
     DLUFUDIWZKLOHLQWR[LFDWHGIURPDOFRKRORU                 SURFHHGVIURPWKHVDOHRIWKHSURSHUW\7KH
     GUXJV                                                    SURSHUW\DQGWKHSURFHHGVIURPSURSHUW\WKDW
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FRXUWFDQGLVPLVV\RXUFKDSWHUFDVHLILWILQGV               ([HPSWLRQVPD\HQDEOH\RXWRNHHS\RXU
WKDW\RXKDYHHQRXJKLQFRPHWRUHSD\                            KRPHDFDUFORWKLQJDQGKRXVHKROGLWHPVRU
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FXUUHQWPRQWKO\LQFRPHDQGFRPSDUHZKHWKHU                      3URSHUW\<RX&ODLPDV([HPSW 2IILFLDO)RUP
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WKDWDSSOLHVLQ\RXUVWDWH                                    WUXVWHHPD\VHOOLWDQGSD\DOORIWKHSURFHHGV
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    Case 8:20-bk-13359-TA                Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                             Desc
                                       Main Document    Page 12 of 55

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    %HFDXVHEDQNUXSWF\FDQKDYHVHULRXVORQJWHUPILQDQFLDODQGOHJDOFRQVHTXHQFHVLQFOXGLQJORVVRI
   \RXUSURSHUW\\RXVKRXOGKLUHDQDWWRUQH\DQGFDUHIXOO\FRQVLGHUDOORI\RXURSWLRQVEHIRUH\RXILOH
    2QO\DQDWWRUQH\FDQJLYH\RXOHJDODGYLFHDERXWZKDWFDQKDSSHQDVDUHVXOWRIILOLQJIRUEDQNUXSWF\
    DQGZKDW\RXURSWLRQVDUH,I\RXGRILOHIRUEDQNUXSWF\DQDWWRUQH\FDQKHOS\RXILOORXWWKHIRUPV
    SURSHUO\DQGSURWHFW\RX\RXUIDPLO\\RXUKRPHDQG\RXUSRVVHVVLRQV
    $OWKRXJKWKHODZDOORZV\RXWRUHSUHVHQW\RXUVHOILQEDQNUXSWF\FRXUW\RXVKRXOGXQGHUVWDQGWKDW
    PDQ\SHRSOHILQGLWGLIILFXOWWRUHSUHVHQWWKHPVHOYHVVXFFHVVIXOO\7KHUXOHVDUHWHFKQLFDODQGD
    PLVWDNHRULQDFWLRQPD\KDUP\RX,I\RXILOHZLWKRXWDQDWWRUQH\\RXDUHVWLOOUHVSRQVLEOHIRUNQRZLQJ
    DQGIROORZLQJDOORIWKHOHJDOUHTXLUHPHQWV
    <RXVKRXOGQRWILOHIRUEDQNUXSWF\LI\RXDUHQRWHOLJLEOHWRILOHRULI\RXGRQRWLQWHQGWRILOHWKH
    QHFHVVDU\GRFXPHQWV
    %DQNUXSWF\IUDXGLVDVHULRXVFULPH\RXFRXOGEHILQHGDQGLPSULVRQHGLI\RXFRPPLWIUDXGLQ\RXU
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    IUDXGLQFRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWRRULPSULVRQPHQWIRUXSWR
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                                                                     PRQH\WKDW\RXRZHWKHPXVXDOO\XVLQJ\RXU
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    6LPLODUWRFKDSWHUFKDSWHUSHUPLWV
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    IDPLO\IDUPHUVDQGILVKHUPHQWRUHSD\WKHLU
    GHEWVRYHUDSHULRGRIWLPHXVLQJIXWXUH                        $IWHU\RXPDNHDOOWKHSD\PHQWVXQGHU\RXU
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    QRWSDLG                                                      GHEWVWKDWDUHQRWGLVFKDUJHGDQGWKDW\RXPD\
                                                                     VWLOOEHUHVSRQVLEOHWRSD\LQFOXGH
                                                                        GRPHVWLFVXSSRUWREOLJDWLRQV
    &KDSWHU 5HSD\PHQWSODQIRU
                                                                        PRVWVWXGHQWORDQV
                 LQGLYLGXDOVZLWKUHJXODU
                 LQFRPH                                                FHUWDLQWD[HV
                                                                        GHEWVIRUIUDXGRUWKHIW
                  ILOLQJIHH                                     GHEWVIRUIUDXGRUGHIDOFDWLRQZKLOHDFWLQJ
                  DGPLQLVWUDWLYHIHH                               LQDILGXFLDU\FDSDFLW\
                  WRWDOIHH
                                                                        PRVWFULPLQDOILQHVDQGUHVWLWXWLRQ
                                                                          REOLJDWLRQV
    &KDSWHULVIRULQGLYLGXDOVZKRKDYHUHJXODU
    LQFRPHDQGZRXOGOLNHWRSD\DOORUSDUWRI                        FHUWDLQGHEWVWKDWDUHQRWOLVWHGLQ\RXU
    WKHLUGHEWVLQLQVWDOOPHQWVRYHUDSHULRGRIWLPH                    EDQNUXSWF\SDSHUV
    DQGWRGLVFKDUJHVRPHGHEWVWKDWDUHQRWSDLG                     FHUWDLQGHEWVIRUDFWVWKDWFDXVHGGHDWKRU
    <RXDUHHOLJLEOHIRUFKDSWHURQO\LI\RXU                         SHUVRQDOLQMXU\DQG
    GHEWVDUHQRWPRUHWKDQFHUWDLQGROODUDPRXQWV                     FHUWDLQORQJWHUPVHFXUHGGHEWV
    VHWIRUWKLQ86&


    1RWLFH5HTXLUHGE\86&86& E IRU,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\ )RUP       SDJH
Case 8:20-bk-13359-TA                    Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                        Desc
                                        Main Document    Page 13 of 55




                                                                 $PDUULHGFRXSOHPD\ILOHDEDQNUXSWF\FDVH
     :DUQLQJ)LOH<RXU)RUPVRQ7LPH                           WRJHWKHU²FDOOHGDMRLQWFDVH,I\RXILOHDMRLQW
                                                                 FDVHDQGHDFKVSRXVHOLVWVWKHVDPHPDLOLQJ
     6HFWLRQ D  RIWKH%DQNUXSWF\&RGH                    DGGUHVVRQWKHEDQNUXSWF\SHWLWLRQWKH
     UHTXLUHVWKDW\RXSURPSWO\ILOHGHWDLOHGLQIRUPDWLRQ
                                                                 EDQNUXSWF\FRXUWJHQHUDOO\ZLOOPDLO\RXDQG
     DERXW\RXUFUHGLWRUVDVVHWVOLDELOLWLHVLQFRPH
     H[SHQVHVDQGJHQHUDOILQDQFLDOFRQGLWLRQ7KH              \RXUVSRXVHRQHFRS\RIHDFKQRWLFHXQOHVV
     FRXUWPD\GLVPLVV\RXUEDQNUXSWF\FDVHLI\RXGR           \RXILOHDVWDWHPHQWZLWKWKHFRXUWDVNLQJWKDW
     QRWILOHWKLVLQIRUPDWLRQZLWKLQWKHGHDGOLQHVVHWE\      HDFKVSRXVHUHFHLYHVHSDUDWHFRSLHV
     WKH%DQNUXSWF\&RGHWKH%DQNUXSWF\5XOHVDQG
     WKHORFDOUXOHVRIWKHFRXUW

     )RUPRUHLQIRUPDWLRQDERXWWKHGRFXPHQWVDQG               8QGHUVWDQGZKLFKVHUYLFHV\RX
     WKHLUGHDGOLQHVJRWR                                    FRXOGUHFHLYHIURPFUHGLW
     KWWSZZZXVFRXUWVJRYIRUPVEDQNUXSWF\IRUPV             FRXQVHOLQJDJHQFLHV

                                                                 7KHODZJHQHUDOO\UHTXLUHVWKDW\RXUHFHLYHD
                                                                FUHGLWFRXQVHOLQJEULHILQJIURPDQDSSURYHG
                                                                 FUHGLWFRXQVHOLQJDJHQF\86& K 
%DQNUXSWF\FULPHVKDYHVHULRXV
                                                                 ,I\RXDUHILOLQJDMRLQWFDVHERWKVSRXVHVPXVW
FRQVHTXHQFHV
                                                                 UHFHLYHWKHEULHILQJ:LWKOLPLWHGH[FHSWLRQV
     ,I\RXNQRZLQJO\DQGIUDXGXOHQWO\FRQFHDO                \RXPXVWUHFHLYHLWZLWKLQWKHGD\VEHIRUH
       DVVHWVRUPDNHDIDOVHRDWKRUVWDWHPHQW                 \RXILOH\RXUEDQNUXSWF\SHWLWLRQ7KLVEULHILQJ
       XQGHUSHQDOW\RISHUMXU\²HLWKHURUDOO\RU                LVXVXDOO\FRQGXFWHGE\WHOHSKRQHRURQWKH
       LQZULWLQJ²LQFRQQHFWLRQZLWKD                          ,QWHUQHW
       EDQNUXSWF\FDVH\RXPD\EHILQHG
       LPSULVRQHGRUERWK                                    ,QDGGLWLRQDIWHUILOLQJDEDQNUXSWF\FDVH\RX
                                                                 JHQHUDOO\PXVWFRPSOHWHDILQDQFLDO
     $OOLQIRUPDWLRQ\RXVXSSO\LQFRQQHFWLRQ                PDQDJHPHQWLQVWUXFWLRQDOFRXUVHEHIRUH\RX
       ZLWKDEDQNUXSWF\FDVHLVVXEMHFWWR                     FDQUHFHLYHDGLVFKDUJH,I\RXDUHILOLQJDMRLQW
       H[DPLQDWLRQE\WKH$WWRUQH\*HQHUDODFWLQJ               FDVHERWKVSRXVHVPXVWFRPSOHWHWKHFRXUVH
       WKURXJKWKH2IILFHRIWKH867UXVWHHWKH
       2IILFHRIWKH86$WWRUQH\DQGRWKHU                   <RXFDQREWDLQWKHOLVWRIDJHQFLHVDSSURYHGWR
       RIILFHVDQGHPSOR\HHVRIWKH86                        SURYLGHERWKWKHEULHILQJDQGWKHLQVWUXFWLRQDO
       'HSDUWPHQWRI-XVWLFH                                   FRXUVHIURPKWWSZZZXVFRXUWVJRYVHUYLFHV
                                                                 IRUPVEDQNUXSWF\FUHGLWFRXQVHOLQJDQGGHEWRU
0DNHVXUHWKHFRXUWKDV\RXU                                    HGXFDWLRQFRXUVHV
PDLOLQJDGGUHVV                                                 ,Q$ODEDPDDQG1RUWK&DUROLQDJRWR
7KHEDQNUXSWF\FRXUWVHQGVQRWLFHVWRWKH                       KWWSZZZXVFRXUWVJRYVHUYLFHV
PDLOLQJDGGUHVV\RXOLVWRQ9ROXQWDU\3HWLWLRQ                  IRUPVEDQNUXSWF\FUHGLWFRXQVHOLQJDQG
IRU,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\ 2IILFLDO                 GHEWRUHGXFDWLRQFRXUVHV
)RUP 7RHQVXUHWKDW\RXUHFHLYH
                                                                 ,I\RXGRQRWKDYHDFFHVVWRDFRPSXWHUWKH
LQIRUPDWLRQDERXW\RXUFDVH%DQNUXSWF\
                                                                 FOHUNRIWKHEDQNUXSWF\FRXUWPD\EHDEOHWR
5XOHUHTXLUHVWKDW\RXQRWLI\WKHFRXUWRI
                                                                 KHOS\RXREWDLQWKHOLVW
DQ\FKDQJHVLQ\RXUDGGUHVV


1RWLFH5HTXLUHGE\86&86& E IRU,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\ )RUP      SDJH
               Case 8:20-bk-13359-TA                                 Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                                                            Desc
                                                                     Main Document    Page 14 of 55

 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\\RXUFDVH

 'HEWRU
                      Michael L Duivis
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                     )LUVW1DPH                     0LGGOH1DPH                    /DVW1DPH

 'HEWRU            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
  6SRXVHLIILOLQJ  )LUVW1DPH                     0LGGOH1DPH                    /DVW1DPH


 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH Central
                                          BBBBBBBBBBBBBBBBBBBBBB
                                                  District of California 'LVWULFWRIBBBBBBBBBB
                                                                                                   6WDWH 
 &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                                                                    &KHFNLIWKLVLVDQ
                      ,INQRZQ                                                                                                                                                 DPHQGHGILOLQJ



2IILFLDO)RUP6XP
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                           

%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH,IWZRPDUULHGSHRSOHDUHILOLQJWRJHWKHUERWKDUHHTXDOO\UHVSRQVLEOHIRUVXSSO\LQJFRUUHFW
LQIRUPDWLRQ)LOORXWDOORI\RXUVFKHGXOHVILUVWWKHQFRPSOHWHWKHLQIRUPDWLRQRQWKLVIRUP,I\RXDUHILOLQJDPHQGHGVFKHGXOHVDIWHU\RXILOH
\RXURULJLQDOIRUPV\RXPXVWILOORXWDQHZSummaryDQGFKHFNWKHER[DWWKHWRSRIWKLVSDJH


Pa rt 1 :       Sum ma rize Your Asse t s


                                                                                                                                                                         <RXUDVVHWV
                                                                                                                                                                         9DOXHRIZKDW\RXRZQ
 Schedule A/B: Property 2IILFLDO)RUP$%
     D&RS\OLQH7RWDOUHDOHVWDWHIURPSchedule A/B
                                                                                                                                                                               730,000.00
                                                                                                                                                                             BBBBBBBBBBBBBBBB



     E&RS\OLQH7RWDOSHUVRQDOSURSHUW\IURPSchedule A/B              54,053.07
                                                                                                                                                                             BBBBBBBBBBBBBBBB


     F&RS\OLQH7RWDORIDOOSURSHUW\RQSchedule A/B
                                                                                                                                                                               784,053.07
                                                                                                                                                                             BBBBBBBBBBBBBBBB



Pa rt 2 :       Sum ma rize Your Lia bilit ie s



                                                                                                                                                                         <RXUOLDELOLWLHV
                                                                                                                                                                         $PRXQW\RXRZH
 Schedule D: Creditors Who Have Claims Secured by Property 2IILFLDO)RUP'
     D&RS\WKHWRWDO\RXOLVWHGLQ&ROXPQ$Amount of claim,DWWKHERWWRPRIWKHODVWSDJHRI3DUWRISchedule D
                                                                                                                                                                               588,827.00
                                                                                                                                                                             BBBBBBBBBBBBBBBB


 Schedule E/F: Creditors Who Have Unsecured Claims 2IILFLDO)RUP()
                                                                                                                                                                               2,081.00
                                                                                                                                                                             BBBBBBBBBBBBBBBB
     D&RS\WKHWRWDOFODLPVIURP3DUW SULRULW\XQVHFXUHGFODLPV IURPOLQHHRISchedule E/F

     E&RS\WKHWRWDOFODLPVIURP3DUW QRQSULRULW\XQVHFXUHGFODLPV IURPOLQHMRISchedule E/F
                                                                                                                                                                              315,737.24
                                                                                                                                                                             BBBBBBBBBBBBBBBB


                                                                                                                                       <RXUWRWDOOLDELOLWLHV                 906,645.24
                                                                                                                                                                             BBBBBBBBBBBBBBBB



Pa rt 3 :       Sum ma rize Your I nc ome a nd Ex pe nse s


 Schedule I: Your Income 2IILFLDO)RUP,
     &RS\\RXUFRPELQHGPRQWKO\LQFRPHIURPOLQHRISchedule I
                                                                                                                                                                               3,055.00
                                                                                                                                                                             BBBBBBBBBBBBBBBB


 Schedule J: Your Expenses 2IILFLDO)RUP-
     &RS\\RXUPRQWKO\H[SHQVHVIURPOLQHFRISchedule J               2,219.00
                                                                                                                                                                             BBBBBBBBBBBBBBBB




2IILFLDO)RUP6XP                                6XPPDU\RI<RXU$VVHWVDQG/LDELOLWLHVDQG&HUWDLQ6WDWLVWLFDO,QIRUPDWLRQ                                                  SDJHRI
             Case 8:20-bk-13359-TA                     Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                                    Desc
                Michael Duivis
                                                       Main Document    Page 15 of 55
'HEWRU      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                          &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               )LUVW1DPH    0LGGOH1DPH        /DVW1DPH




Pa rt 4 : Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords 

 $UH\RXILOLQJIRUEDQNUXSWF\XQGHU&KDSWHUVRU"

     1R<RXKDYHQRWKLQJWRUHSRUWRQWKLVSDUWRIWKHIRUP&KHFNWKLVER[DQGVXEPLWWKLVIRUPWRWKHFRXUWZLWK\RXURWKHUVFKHGXOHV
     <HV
     ✔




 :KDWNLQGRIGHEWGR\RXKDYH"

     <RXUGHEWVDUHSULPDULO\FRQVXPHUGHEWVConsumer debtsDUHWKRVH³LQFXUUHGE\DQLQGLYLGXDOSULPDULO\IRUDSHUVRQDO
     ✔


         IDPLO\RUKRXVHKROGSXUSRVH´86&  )LOORXWOLQHVJIRUVWDWLVWLFDOSXUSRVHV86&

     <RXUGHEWVDUHQRWSULPDULO\FRQVXPHUGHEWV<RXKDYHQRWKLQJWRUHSRUWRQWKLVSDUWRIWKHIRUP&KHFNWKLVER[DQGVXEPLW
         WKLVIRUPWRWKHFRXUWZLWK\RXURWKHUVFKHGXOHV



 )URPWKH Statement of Your Current Monthly Income&RS\\RXUWRWDOFXUUHQWPRQWKO\LQFRPHIURP2IILFLDO
    )RUP$/LQH25)RUP%/LQH25)RUP&/LQH                                                                       3,538.33
                                                                                                                                      BBBBBBBBBBBBBBBBB




 &RS\WKHIROORZLQJVSHFLDOFDWHJRULHVRIFODLPVIURP3DUWOLQHRISchedule E/F



                                                                                                          7RWDOFODLP


      )URP3DUWRQSchedule E/FFRS\WKHIROORZLQJ

                                                                                                                             0.00
    D'RPHVWLFVXSSRUWREOLJDWLRQV &RS\OLQHD                                                      BBBBBBBBBBBBBBBBBBBBB


                                                                                                                     2,081.00
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    E7D[HVDQGFHUWDLQRWKHUGHEWV\RXRZHWKHJRYHUQPHQW &RS\OLQHE 

                                                                                                                             0.00
                                                                                                          BBBBBBBBBBBBBBBBBBBBB
    F&ODLPVIRUGHDWKRUSHUVRQDOLQMXU\ZKLOH\RXZHUHLQWR[LFDWHG &RS\OLQHF 

                                                                                                                             0.00
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    G6WXGHQWORDQV &RS\OLQHI 


    H2EOLJDWLRQVDULVLQJRXWRIDVHSDUDWLRQDJUHHPHQWRUGLYRUFHWKDW\RXGLGQRWUHSRUWDV                             0.00
                                                                                                          BBBBBBBBBBBBBBBBBBBBB
        SULRULW\FODLPV &RS\OLQHJ 

                                                                                                                             0.00
    I 'HEWVWRSHQVLRQRUSURILWVKDULQJSODQVDQGRWKHUVLPLODUGHEWV &RS\OLQHK              BBBBBBBBBBBBBBBBBBBBB



    J7RWDO$GGOLQHVDWKURXJKI                                                                                 2,081.00
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   2IILFLDO)RUP6XP                    6XPPDU\RI<RXU$VVHWVDQG/LDELOLWLHVDQG&HUWDLQ6WDWLVWLFDO,QIRUPDWLRQ                    SDJHRI
                   Case 8:20-bk-13359-TA                                  Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                                                                              Desc
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                      Michael L Duivis
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 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH Central
                                          BBBBBBBBBBBBBBBBBBBBBB
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%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH,IWZRPDUULHGSHRSOHDUHILOLQJWRJHWKHUERWKDUHHTXDOO\UHVSRQVLEOHIRUVXSSO\LQJFRUUHFWLQIRUPDWLRQ
8VLQJWKHSURSHUW\\RXOLVWHGRQSchedule A/B: Property 2IILFLDO)RUP$% DV\RXUVRXUFHOLVWWKHSURSHUW\WKDW\RXFODLPDVH[HPSW,IPRUH
VSDFHLVQHHGHGILOORXWDQGDWWDFKWRWKLVSDJHDVPDQ\FRSLHVRIPart 2: Additional PageDVQHFHVVDU\2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWH
\RXUQDPHDQGFDVHQXPEHU LINQRZQ 

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VSHFLILFGROODUDPRXQWDVH[HPSW$OWHUQDWLYHO\\RXPD\FODLPWKHIXOOIDLUPDUNHWYDOXHRIWKHSURSHUW\EHLQJH[HPSWHGXSWRWKHDPRXQW
RIDQ\DSSOLFDEOHVWDWXWRU\OLPLW6RPHH[HPSWLRQV—VXFKDVWKRVHIRUKHDOWKDLGVULJKWVWRUHFHLYHFHUWDLQEHQHILWVDQGWD[H[HPSW
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ZRXOGEHOLPLWHGWRWKHDSSOLFDEOHVWDWXWRU\DPRXQW


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       Schedule A/B WKDW OLVWVWKLVSURSHUW\                    SRUWLRQ\RXRZQ                         H[HPSWLRQ\RXFODLP

                                                                 &RS\WKHYDOXHIURP                     &KHFNRQO\RQHER[
                                                                 Schedule A/B                            IRUHDFKH[HPSWLRQ
                  1192 Citrus Dr                                                                                                          Cal. Civ. Proc. Code § 704.730,
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 /LQHIURP                                                                                             DQ\DSSOLFDEOHVWDWXWRU\OLPLW
 Schedule A/B:           1.1
                  Household goods - Household Inventory. Not                                                                              Cal. Civ. Proc. Code § 704.020
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                  individual item value greater than $500.00.             2,900.00
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 Schedule A/B:          6
                  Clothing - Wearing apparel 1 adult.                                                                                     Cal. Civ. Proc. Code § 704.020
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                 )LUVW1DPH    0LGGOH1DPH      /DVW1DPH




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      RQSchedule A/B WKDW OLVWVWKLVSURSHUW\                  SRUWLRQ\RXRZQ
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                                                                 6FKHGXOH$%           IRUHDFKH[HPSWLRQ
                JPMorgan Chase, N.A. (Checking)                                                                                C.C.P. 704.220
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Schedule A/B:        17.1
                JPMorgan Chase, N.A. (Savings)                                                                                 C.C.P. 704.220
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                JPMorgan Chase, N.A. (Savings)                                                                                 C.C.P. 704.220
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                Case 8:20-bk-13359-TA                         Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                                       Desc
                                                              Main Document    Page 34 of 55
 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\\RXUFDVH

                        Michael L Duivis
 'HEWRU          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                     )LUVW1DPH              0LGGOH1DPH                /DVW1DPH

 'HEWRU            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
  6SRXVHLIILOLQJ  )LUVW1DPH              0LGGOH1DPH                /DVW1DPH


 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH BBBBBBBBBBBBBBBBBBBBBB
                                           Central District of California'LVWULFW
                                                                                        WDWH 
 &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                     &KHFNLIWKLVLV
  ,INQRZQ 
                                                                                                                $QDPHQGHGILOLQJ
                                                                                                                $VXSSOHPHQWVKRZLQJSRVWSHWLWLRQFKDSWHU
                                                                                                                  LQFRPHDVRIWKHIROORZLQJGDWH
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2IILFLDO)RUP,                                                                                               00''<<<<

Sche dule I : Your I nc om e                                                                                                                                 

%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH,IWZRPDUULHGSHRSOHDUHILOLQJWRJHWKHU 'HEWRUDQG'HEWRU ERWKDUHHTXDOO\UHVSRQVLEOHIRU
VXSSO\LQJFRUUHFWLQIRUPDWLRQ,I\RXDUHPDUULHGDQGQRWILOLQJMRLQWO\DQG\RXUVSRXVHLVOLYLQJZLWK\RXLQFOXGHLQIRUPDWLRQDERXW\RXUVSRXVH
,I\RXDUHVHSDUDWHGDQG\RXUVSRXVHLVQRWILOLQJZLWK\RXGRQRWLQFOXGHLQIRUPDWLRQDERXW\RXUVSRXVH,IPRUHVSDFHLVQHHGHGDWWDFKD
VHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWH\RXUQDPHDQGFDVHQXPEHU LINQRZQ $QVZHUHYHU\TXHVWLRQ


 Pa rt 1 :          De sc ribe Em ployme nt


 )LOOLQ\RXUHPSOR\PHQW
     LQIRUPDWLRQ                                                                'HEWRU                                     'HEWRURUQRQILOLQJVSRXVH

     ,I\RXKDYHPRUHWKDQRQHMRE
     DWWDFKDVHSDUDWHSDJHZLWK                                              ✔ (PSOR\HG
     LQIRUPDWLRQDERXWDGGLWLRQDO           (PSOR\PHQWVWDWXV                                                                    (PSOR\HG
     HPSOR\HUV                                                                1RWHPSOR\HG                                       1RWHPSOR\HG
     ,QFOXGHSDUWWLPHVHDVRQDORU
     VHOIHPSOR\HGZRUN                                                       Fitness Trainer
                                            2FFXSDWLRQ                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     2FFXSDWLRQPD\LQFOXGHVWXGHQW
     RUKRPHPDNHULILWDSSOLHV                                              Straight-Up Fitness, LLC
                                            (PSOR\HU¶VQDPH                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


                                            (PSOR\HU¶VDGGUHVV                14114 Shoemaker Ave
                                                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                             1XPEHU 6WUHHW                          1XPEHU 6WUHHW
                                                                               #401
                                                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

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                                                                               Norwalk, CA 90650
                                                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                             &LW\           6WDWH =,3&RGH          &LW\               6WDWH =,3&RGH

                                            +RZORQJHPSOR\HGWKHUH"BBBBBBBBBBBBBBBBBBBBBBBB
                                                                     11 years                                                BBBBBBBBBBBBBBBBBBBBBBBB

 Pa rt 2 :          Give De t a ils About Mont hly I nc ome

     (VWLPDWHPRQWKO\LQFRPHDVRIWKHGDWH\RXILOHWKLVIRUP,I\RXKDYHQRWKLQJWRUHSRUWIRUDQ\OLQHZULWHLQWKHVSDFH,QFOXGH\RXUQRQILOLQJ
     VSRXVHXQOHVV\RXDUHVHSDUDWHG
     ,I\RXRU\RXUQRQILOLQJVSRXVHKDYHPRUHWKDQRQHHPSOR\HUFRPELQHWKHLQIRUPDWLRQIRUDOOHPSOR\HUVIRUWKDWSHUVRQRQWKHOLQHV
     EHORZ,I\RXQHHGPRUHVSDFHDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP

                                                                                                          )RU'HEWRU      )RU'HEWRURU
                                                                                                                             QRQILOLQJVSRXVH
  /LVWPRQWKO\JURVVZDJHVVDODU\DQGFRPPLVVLRQV EHIRUHDOOSD\UROO
      GHGXFWLRQV ,IQRWSDLGPRQWKO\FDOFXODWHZKDWWKHPRQWKO\ZDJHZRXOGEH                              0.00
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  (VWLPDWHDQGOLVWPRQWKO\RYHUWLPHSD\                                                          BBBBBBBBBBB
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  &DOFXODWHJURVVLQFRPH$GGOLQHOLQH                                                              0.00
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2IILFLDO)RUP,                                                     6FKHGXOH,<RXU,QFRPH                                                          SDJH
              Case 8:20-bk-13359-TA
               Michael L Duivis
                                                                     Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56 Desc
'HEWRU         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                    Main Document     Page 35&DVHQXPEHU
                                                                                              of 55 if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  )LUVW1DPH       0LGGOH1DPH              /DVW1DPH

                                                                                                                          )RU'HEWRU         )RU'HEWRURU
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   &RS\OLQHKHUHÎ            0.00
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 /LVWDOOSD\UROOGHGXFWLRQV

     D 7D[0HGLFDUHDQG6RFLDO6HFXULW\GHGXFWLRQV                                                          D            0.00
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     E 0DQGDWRU\FRQWULEXWLRQVIRUUHWLUHPHQWSODQV                                                          E            0.00
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     F 9ROXQWDU\FRQWULEXWLRQVIRUUHWLUHPHQWSODQV                                                          F            0.00
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     G 5HTXLUHGUHSD\PHQWVRIUHWLUHPHQWIXQGORDQV                                                          G            0.00
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     H ,QVXUDQFH                                                                                             H            0.00
                                                                                                                          BBBBBBBBBBBB          BBBBBBBBBBBBB
     I 'RPHVWLFVXSSRUWREOLJDWLRQV                                                                          I            0.00
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     J 8QLRQGXHV                                                                                             J
     K 2WKHUGHGXFWLRQV6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                         K    BBBBBBBBBBBB
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  $GGWKHSD\UROOGHGXFWLRQV$GGOLQHVDEFGHIJK                                                 0.00
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  &DOFXODWHWRWDOPRQWKO\WDNHKRPHSD\6XEWUDFWOLQHIURPOLQH                                                        0.00
                                                                                                                          BBBBBBBBBBBB           BBBBBBBBBBBB


  /LVWDOORWKHULQFRPHUHJXODUO\UHFHLYHG

     D 1HWLQFRPHIURPUHQWDOSURSHUW\DQGIURPRSHUDWLQJDEXVLQHVV
          SURIHVVLRQRUIDUP
            $WWDFKDVWDWHPHQWIRUHDFKSURSHUW\DQGEXVLQHVVVKRZLQJJURVV
            UHFHLSWVRUGLQDU\DQGQHFHVVDU\EXVLQHVVH[SHQVHVDQGWKHWRWDO                                                   0.00
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            PRQWKO\QHWLQFRPH                                                                                 D
     E,QWHUHVWDQGGLYLGHQGV                                                                                 E            0.00
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     F )DPLO\VXSSRUWSD\PHQWVWKDW\RXDQRQILOLQJVSRXVHRUDGHSHQGHQW
          UHJXODUO\UHFHLYH
            ,QFOXGHDOLPRQ\VSRXVDOVXSSRUWFKLOGVXSSRUWPDLQWHQDQFHGLYRUFH                                                0.00
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            VHWWOHPHQWDQGSURSHUW\VHWWOHPHQW                                                                F
     G 8QHPSOR\PHQWFRPSHQVDWLRQ                                                                             G        3,055.00
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     H6RFLDO6HFXULW\                                                                                        H            0.00
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     I 2WKHUJRYHUQPHQWDVVLVWDQFHWKDW\RXUHJXODUO\UHFHLYH
          ,QFOXGHFDVKDVVLVWDQFHDQGWKHYDOXH LINQRZQ RIDQ\QRQFDVKDVVLVWDQFH
          WKDW\RXUHFHLYHVXFKDVIRRGVWDPSV EHQHILWVXQGHUWKH6XSSOHPHQWDO
          1XWULWLRQ$VVLVWDQFH3URJUDP RUKRXVLQJVXEVLGLHV
          6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB I                                                     0.00
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     J3HQVLRQRUUHWLUHPHQWLQFRPH                                                                           J            0.00
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     K2WKHUPRQWKO\LQFRPH6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB K                                            BBBBBBBBBBBB
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  $GGDOORWKHULQFRPH$GGOLQHVDEFGHIJK                                               3,055.00
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&DOFXODWHPRQWKO\LQFRPH$GGOLQHOLQH
    $GGWKHHQWULHVLQOLQHIRU'HEWRUDQG'HEWRURUQRQILOLQJVSRXVH                                    
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 6WDWHDOORWKHUUHJXODUFRQWULEXWLRQVWRWKHH[SHQVHVWKDW\RXOLVWLQSchedule J
    ,QFOXGHFRQWULEXWLRQVIURPDQXQPDUULHGSDUWQHUPHPEHUVRI\RXUKRXVHKROG\RXUGHSHQGHQWV\RXUURRPPDWHVDQGRWKHU
    IULHQGVRUUHODWLYHV
    'RQRWLQFOXGHDQ\DPRXQWVDOUHDG\LQFOXGHGLQOLQHVRUDPRXQWVWKDWDUHQRWDYDLODEOHWRSD\H[SHQVHVOLVWHGLQSchedule J
    6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                     BBBBBBBBBBBBB
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 $GGWKHDPRXQWLQWKHODVWFROXPQRIOLQHWRWKHDPRXQWLQOLQH7KHUHVXOWLVWKHFRPELQHGPRQWKO\LQFRPH
                                                                                                                                                                           3,055.00
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    :ULWHWKDWDPRXQWRQWKHSummary of Your Assets and Liabilities and Certain Statistical Information, LILWDSSOLHV                                          
                                                                                                                                                                        &RPELQHG
                                                                                                                                                                        PRQWKO\LQFRPH
 'R\RXH[SHFWDQLQFUHDVHRUGHFUHDVHZLWKLQWKH\HDUDIWHU\RXILOHWKLVIRUP"
           1R                 At such time that Straight-Up Fitness, LLC is able to return to normal business operations I plan to resume
      
      ✔     <HV([SODLQ      taking regular wages from this business.

 2IILFLDO)RUP,                                                              6FKHGXOH,<RXU,QFRPH                                                               SDJH
                 Case 8:20-bk-13359-TA                       Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                                            Desc
                                                             Main Document    Page 36 of 55
 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\\RXUFDVH

                      Michael L Duivis
  'HEWRU          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                     )LUVW1DPH             0LGGOH1DPH                 /DVW1DPH                          &KHFNLIWKLVLV
  'HEWRU           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
  6SRXVHLIILOLQJ  )LUVW1DPH             0LGGOH1DPH                 /DVW1DPH
                                                                                                                $QDPHQGHGILOLQJ
                                           Central District of California
                                                                                                                $VXSSOHPHQWVKRZLQJSRVWSHWLWLRQFKDSWHU
  8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH BBBBBBBBBBBBBBBBBBBBBB         'LVWULFWRIBBBBBBBBBB
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                                                                                        6WDWH 
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2IILFLDO)RUP-
6FKHGXOH-<RXU([SHQVHV                                                                                                                                        

%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH,IWZRPDUULHGSHRSOHDUHILOLQJWRJHWKHUERWKDUHHTXDOO\UHVSRQVLEOHIRUVXSSO\LQJFRUUHFW
LQIRUPDWLRQ,IPRUHVSDFHLVQHHGHGDWWDFKDQRWKHUVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWH\RXUQDPHDQGFDVHQXPEHU
 LINQRZQ $QVZHUHYHU\TXHVWLRQ

 3DUW            'HVFULEH<RXU+RXVHKROG

 ,VWKLVDMRLQWFDVH"

   ✔ 1R *RWROLQH
   
    <HV'RHV'HEWRUOLYHLQDVHSDUDWHKRXVHKROG"
                    1R
                    <HV'HEWRUPXVWILOH2IILFLDO)RUP-([SHQVHVIRU6HSDUDWH+RXVHKROGRI'HEWRU

 'R\RXKDYHGHSHQGHQWV"                  ✔ 1R
                                                                                           'HSHQGHQW¶VUHODWLRQVKLSWR                'HSHQGHQW¶V   'RHVGHSHQGHQWOLYH
      'RQRWOLVW'HEWRUDQG               <HV)LOORXWWKLVLQIRUPDWLRQIRU            'HEWRURU'HEWRU                       DJH           ZLWK\RX"
      'HEWRU                                 HDFKGHSHQGHQW
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      QDPHV                                                                                                                                               <HV

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 'R\RXUH[SHQVHVLQFOXGH
   H[SHQVHVRISHRSOHRWKHUWKDQ
                                               1R
   \RXUVHOIDQG\RXUGHSHQGHQWV"              <HV

3DUW         (VWLPDWH<RXU2QJRLQJ0RQWKO\([SHQVHV

(VWLPDWH\RXUH[SHQVHVDVRI\RXUEDQNUXSWF\ILOLQJGDWHXQOHVV\RXDUHXVLQJWKLVIRUPDVDVXSSOHPHQWLQD&KDSWHUFDVHWRUHSRUW
H[SHQVHVDVRIDGDWHDIWHUWKHEDQNUXSWF\LVILOHG,IWKLVLVDVXSSOHPHQWDO6FKHGXOH-FKHFNWKHER[DWWKHWRSRIWKHIRUPDQGILOOLQWKH
DSSOLFDEOHGDWH
,QFOXGHH[SHQVHVSDLGIRUZLWKQRQFDVKJRYHUQPHQWDVVLVWDQFHLI\RXNQRZWKHYDOXHRI
VXFKDVVLVWDQFHDQGKDYHLQFOXGHGLWRQ6FKHGXOH,<RXU,QFRPH 2IILFLDO)RUP,                                                      <RXUH[SHQVHV

  7KHUHQWDORUKRPHRZQHUVKLSH[SHQVHVIRU\RXUUHVLGHQFH,QFOXGHILUVWPRUWJDJHSD\PHQWVDQG
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       DQ\UHQWIRUWKHJURXQGRUORW                                                                                          

       ,IQRWLQFOXGHGLQOLQH
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       D  5HDOHVWDWHWD[HV                                                                                                 D      BBBBBBBBBBBBBBBBBBBBB
       E  3URSHUW\KRPHRZQHU¶VRUUHQWHU¶VLQVXUDQFH                                                                      E
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       F  +RPHPDLQWHQDQFHUHSDLUDQGXSNHHSH[SHQVHV                                                                     F                    100.00
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       G +RPHRZQHU¶VDVVRFLDWLRQRUFRQGRPLQLXPGXHV                                                                        G                       0.00
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 2IILFLDO)RUP-                                            6FKHGXOH-<RXU([SHQVHV                                                                   SDJH
              Case 8:20-bk-13359-TA                    Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                               Desc
                                                       Main Document    Page 37 of 55
                  Michael L Duivis
 'HEWRU       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                   &DVHQXPEHU LINQRZQ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 )LUVW1DPH    0LGGOH1DPH      /DVW1DPH




                                                                                                                        <RXUH[SHQVHV


  $GGLWLRQDOPRUWJDJHSD\PHQWVIRU\RXUUHVLGHQFHVXFKDVKRPHHTXLW\ORDQV                                 
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  8WLOLWLHV

      D  (OHFWULFLW\KHDWQDWXUDOJDV                                                                    D    BBBBBBBBBBBBBBBBBBBBB
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      E  :DWHUVHZHUJDUEDJHFROOHFWLRQ                                                                  E    BBBBBBBBBBBBBBBBBBBBB
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      F 7HOHSKRQHFHOOSKRQH,QWHUQHWVDWHOOLWHDQGFDEOHVHUYLFHV                                     F    BBBBBBBBBBBBBBBBBBBBB
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      G  2WKHU6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                   G    BBBBBBBBBBBBBBBBBBBBB
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  )RRGDQGKRXVHNHHSLQJVXSSOLHV                                                                                                 400.00
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  &KLOGFDUHDQGFKLOGUHQ¶VHGXFDWLRQFRVWV                                                                         BBBBBBBBBBBBBBBBBBBBB
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  &ORWKLQJODXQGU\DQGGU\FOHDQLQJ                                                                              BBBBBBBBBBBBBBBBBBBBB
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   3HUVRQDOFDUHSURGXFWVDQGVHUYLFHV                                                                           BBBBBBBBBBBBBBBBBBBBB
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   0HGLFDODQGGHQWDOH[SHQVHV                                                                                   BBBBBBBBBBBBBBBBBBBBB
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 7UDQVSRUWDWLRQ,QFOXGHJDVPDLQWHQDQFHEXVRUWUDLQIDUH
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      'RQRWLQFOXGHFDUSD\PHQWV                                                                             

   (QWHUWDLQPHQWFOXEVUHFUHDWLRQQHZVSDSHUVPDJD]LQHVDQGERRNV                                           BBBBBBBBBBBBBBBBBBBBB
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   &KDULWDEOHFRQWULEXWLRQVDQGUHOLJLRXVGRQDWLRQV                                                             BBBBBBBBBBBBBBBBBBBBB
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   ,QVXUDQFH                                                                                                                                      

      'RQRWLQFOXGHLQVXUDQFHGHGXFWHGIURP\RXUSD\RULQFOXGHGLQOLQHVRU

      D /LIHLQVXUDQFH                                                                                     D                    0.00
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      E +HDOWKLQVXUDQFH                                                                                   E                 100.00
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      F 9HKLFOHLQVXUDQFH                                                                                  F   BBBBBBBBBBBBBBBBBBBBB
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      G 2WKHULQVXUDQFH6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                   G   BBBBBBBBBBBBBBBBBBBBB
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 ,QVWDOOPHQWRUOHDVHSD\PHQWV

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 <RXUSD\PHQWVRIDOLPRQ\PDLQWHQDQFHDQGVXSSRUWWKDW\RXGLGQRWUHSRUWDVGHGXFWHGIURP
      \RXUSD\RQOLQH6FKHGXOH,<RXU,QFRPH 2IILFLDO)RUP,                                                               0.00
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 2WKHUSD\PHQWV\RXPDNHWRVXSSRUWRWKHUVZKRGRQRWOLYHZLWK\RX

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 2WKHUUHDOSURSHUW\H[SHQVHVQRWLQFOXGHGLQOLQHVRURIWKLVIRUPRURQ6FKHGXOH,<RXU,QFRPH

      D 0RUWJDJHVRQRWKHUSURSHUW\                                                                        D   BBBBBBBBBBBBBBBBBBBBB
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      E 5HDOHVWDWHWD[HV                                                                                  E   BBBBBBBBBBBBBBBBBBBBB
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      F 3URSHUW\KRPHRZQHU¶VRUUHQWHU¶VLQVXUDQFH                                                       F   BBBBBBBBBBBBBBBBBBBBB
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      G 0DLQWHQDQFHUHSDLUDQGXSNHHSH[SHQVHV                                                           G   BBBBBBBBBBBBBBBBBBBBB
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      H +RPHRZQHU¶VDVVRFLDWLRQRUFRQGRPLQLXPGXHV                                                        H   BBBBBBBBBBBBBBBBBBBBB
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  2IILFLDO)RUP-                                         6FKHGXOH-<RXU([SHQVHV                                                   SDJH
                 Case 8:20-bk-13359-TA                 Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                                  Desc
                                                       Main Document    Page 38 of 55
                   Michael L Duivis
'HEWRU         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                     &DVHQXPEHU LINQRZQ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  )LUVW1DPH   0LGGOH1DPH      /DVW1DPH




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    &DOFXODWH\RXUPRQWKO\H[SHQVHV

       D$GGOLQHVWKURXJK                                                                              D                  2,219.00
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       E&RS\OLQH PRQWKO\H[SHQVHVIRU'HEWRU LIDQ\IURP2IILFLDO)RUP-F$GGOLQHD    E      BBBBBBBBBBBBBBBBBBBBB

       DQGE7KHUHVXOWLV\RXUPRQWKO\H[SHQVHV                                                             F                  2,219.00
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 &DOFXODWH\RXUPRQWKO\QHWLQFRPH
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      D &RS\OLQH \RXUFRPELQHGPRQWKO\LQFRPH IURP6FKHGXOH,                                         D

      E &RS\\RXUPRQWKO\H[SHQVHVIURPOLQHFDERYH                                                      E                   2,219.00
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      F 6XEWUDFW\RXUPRQWKO\H[SHQVHVIURP\RXUPRQWKO\LQFRPH                                                                       836.00
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            7KHUHVXOWLV\RXUPRQWKO\QHWLQFRPH                                                              F



 'R\RXH[SHFWDQLQFUHDVHRUGHFUHDVHLQ\RXUH[SHQVHVZLWKLQWKH\HDUDIWHU\RXILOHWKLVIRUP"

      )RUH[DPSOHGR\RXH[SHFWWRILQLVKSD\LQJIRU\RXUFDUORDQZLWKLQWKH\HDURUGR\RXH[SHFW\RXU
      PRUWJDJHSD\PHQWWRLQFUHDVHRUGHFUHDVHEHFDXVHRIDPRGLILFDWLRQWRWKHWHUPVRI\RXUPRUWJDJH"

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      ✔   <HV      ([SODLQKHUH   Covid-19 mortgage forbearance will expire in 2021.




  2IILFLDO)RUP-                                         6FKHGXOH-<RXU([SHQVHV                                                      SDJH
Case 8:20-bk-13359-TA   Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56   Desc
                        Main Document    Page 39 of 55




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               Case 8:20-bk-13359-TA                      Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56                                Desc
                                                          Main Document    Page 46 of 55
Fill in this information to identify your case:                                                               Check as directed in lines 17 and 21:
                                                                                                                According to the calculations required by
 Debtor 1           Michael L Duivis
                   __________________________________________________________________                           this Statement:
                     First Name             Middle Name              Last Name

 Debtor 2            ________________________________________________________________                            1. Disposable income is not determined
                                                                                                                ✔
 (Spouse, if filing) First Name             Middle Name              Last Name                                        under 11 U.S.C. § 1325(b)(3).

 United States Bankruptcy Court for the: __________
                                         Central District      of __________
                                                          of California
                                                      District                                                     2. Disposable income is determined
                                                                                                                       under 11 U.S.C. § 1325(b)(3).
 Case number         ___________________________________________
 (If known)                                                                                                      3. The commitment period is 3 years.
                                                                                                                ✔
                                                                                                                   4. The commitment period is 5 years.


                                                                                                                
                                                                                                                 Check if this is an amended filing



Official Form 122C–1
Cha pt e r 1 3 St a t e m e nt of Y our Curre nt M ont hly I nc om e
a nd Ca lc ula t ion of Com m it m e nt Pe riod                                                                                                 /

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Pa rt 1 :         Ca lc ula te Y our Ave ra ge M ont hly I nc ome

1. What is your marital and filing status? Check one only.
    ✔
         Not married. Fill out Column A, lines 2-11.
         Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
     the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
     from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                     Column A             Column B
                                                                                                     Debtor 1             Debtor 2 or
                                                                                                                          non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).
                                                                                                              0.00
                                                                                                     $__________                     0.00
                                                                                                                            $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                              0.00
                                                                                                     $__________                     0.00
                                                                                                                            $__________

4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you
    listed on line 3.                                                                                         0.00
                                                                                                     $_________                      0.00
                                                                                                                            $__________

5. Net income from operating a business, profession, or
                                                                     Debtor 1     Debtor 2
    farm
                                                                          83.33
                                                                       $______         0.00
                                                                                  $______
    Gross receipts (before all deductions)
    Ordinary and necessary operating expenses                             0.00 – $______
                                                                    – $______         0.00

                                                                                              Copy
    Net monthly income from a business, profession, or farm               83.33        0.00 hereÎ            83.33                  0.00
                                                                       $______    $______            $_________            $__________

6. Net income from rental and other real property                    Debtor 1     Debtor 2

    Gross receipts (before all deductions)                                 0.00
                                                                       $______         0.00
                                                                                  $______

    Ordinary and necessary operating expenses                             0.00 – $______
                                                                    – $______         0.00

                                                                                              Copy
    Net monthly income from rental or other real property                  0.00
                                                                       $______         0.00 hereÎ
                                                                                  $______                     0.00
                                                                                                     $_________                     0.00
                                                                                                                           $__________



Official Form 122C–1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                            page 1
                  Case 8:20-bk-13359-TA                  Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56 Desc
Debtor 1                Michael L Duivis                 Main   Document
                       _______________________________________________________
                                                                               Page 47Case
                                                                                       of 55
                                                                                           number (if known)_____________________________________
                       First Name               Middle Name                       Last Name



                                                                                                                                                                    Column A               Column B
                                                                                                                                                                    Debtor 1               Debtor 2 or
                                                                                                                                                                                           non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                        0.00
                                                                                                                                                                     $____________                   0.00
                                                                                                                                                                                             $__________

8. Unemployment compensation                                                                                                                                             3,455.00
                                                                                                                                                                     $____________                   0.00
                                                                                                                                                                                             $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................ Ð

        For you .....................................................................................                        0.00
                                                                                                                  $_____________
        For your spouse .....................................................................                                0.00
                                                                                                                  $_____________

 Pension or retirement income. Do not include any amount received that was abenefit
    under the Social Security Act. Also, except as stated in the next sentence, donot
    include any compensation, pension, pay, annuity, or allowance paid by the United
    States Government in connection with a disability, combat-related injury or disability, or
    death of a member of the uniformed services. If you received any retired pay paid
    under chapter 61 of title 10, then include that pay only to the extent that it does not
    exceed the amount of retired pay to which you would otherwise be entitled if retired                                                                                                            0.00
    under any provision of title 10 other than chapter 61 of that title.
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________           $__________

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    GLVHDVH &29,' SD\PHQWVUHFHLYHGDVDYLFWLPRIDZDUFULPHDFULPH
    DJDLQVWKXPDQLW\RULQWHUQDWLRQDORUGRPHVWLFWHUURULVPRUFRPSHQVDWLRQSHQVLRQ
    SD\DQQXLW\RUDOORZDQFHSDLGE\WKH8QLWHG6WDWHV*RYHUQPHQWLQFRQQHFWLRQZLWKD
    GLVDELOLW\FRPEDWUHODWHGLQMXU\RUGLVDELOLW\RUGHDWKRIDPHPEHURIWKHXQLIRUPHG
    VHUYLFHV,IQHFHVVDU\OLVWRWKHUVRXUFHVRQDVHSDUDWHSDJHDQGSXWWKHWRWDOEHORZ
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                       0.00
                                                                                                                                                                                            $___________
        __________________________________________________________________
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                       0.00
                                                                                                                                                                                            $___________
        __________________________________________________________________
                                                                                                                                                                         0.00
                                                                                                                                                               + $____________                       0.00
                                                                                                                                                                                           + $__________
       Total amounts from separate pages, if any.

11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                          3,538.33
                                                                                                                                                                     $____________     +             0.00
                                                                                                                                                                                            $___________         =      3,538.33
                                                                                                                                                                                                                     $________
                                                                                                                                                                                                                     Total average
                                                                                                                                                                                                                     monthly income
Pa rt 2 :           De te rm ine How to M e a sure Y our De duc t ions from Inc om e

12. Copy your total average monthly income from line 11. ..........................................................................................................................                                    3,538.33
                                                                                                                                                                                                                 $_____________
13. Calculate the marital adjustment. Check one:

     ✔
         You are not married. Fill in 0 below.
         You are married and your spouse is filing with you.Fill in 0 below.
         You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents,such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                 $___________
            __________________________________________________________________________                                                                                 $___________
            __________________________________________________________________________                                                                               + $___________
           Total ................................................................................................................................................               0.00
                                                                                                                                                                       $___________
                                                                                                                                                                                       Copy here   Î          ņ____________
                                                                                                                                                                                                                          0.00


14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                           3,538.33
                                                                                                                                                                                                                  $ __________




Official Form 122C–1                                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                page 2
                   Case 8:20-bk-13359-TA                Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56 Desc
Debtor 1              Michael  L Duivis                 Main   Document
                      _______________________________________________________
                                                                              Page 48Case
                                                                                      of 55
                                                                                          number (if known)_____________________________________
                       First Name              Middle Name                       Last Name   

15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here                 Î ...........................................................................................................................................................................................          3,538.33
                                                                                                                                                                                                                                             $ ____________

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                                       x 12
     15b. The result is your current monthly income for the year for this part of the form. ....................................................................................                                                               42,459.96
                                                                                                                                                                                                                                             $___________



16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                   CA
                                                                                                              _________

     16b. Fill in the number of people in your household.                                                     _________
                                                                                                                       1


     16c. Fill in the median family income for your state and size of household. ................................................................................................                                                                 62,171.00
                                                                                                                                                                                                                                              $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.    
             ✔      Line 15b is less than or equal to line 16c. On the top of page 1of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3.Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b.  Line 15b is more than line 16c. On the top of page 1of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.

Pa rt 3 :              Ca lc ula te Y our Com m itm e nt Pe riod Unde r 1 1 U .S.C. § 1 3 2 5 (b)(4 )


18. Copy your total average monthly income from line 11. ............................................................................................................................                                                             3,538.33
                                                                                                                                                                                                                                              $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a. ............................................................................................. 
                                                                                                                                                                                                                                            ņ $__________
                                                                                                                                                                                                                                                    0.00

     19b. Subtract line 19a from line 18.                                                                                                                                                                                                         3,538.33
                                                                                                                                                                                                                                              $__________


20. Calculate your current monthly income for the year. Follow these steps:


     20a. Copy line 19b.. ...............................................................................................................................................................................................
                                                                                                                                                                                                                                                3,538.33
                                                                                                                                                                                                                                             $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                                              x 12
     20b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                                                                                42,459.96
                                                                                                                                                                                                                                             $___________


     20c. Copy the median family income for your state and size of household from line 16c.......................................................................
                                                                                                                                                                                                                                                 62,171.00
                                                                                                                                                                                                                                             $___________


21. How do the lines compare?


     ✔
          Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.




          Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.




Official Form 122C–1                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                                           page 3
Case 8:20-bk-13359-TA   Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56   Desc
                        Main Document    Page 49 of 55




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None.




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Adversary Complaints, Dischargeability Complaints, Relief from Stay Motions, 2004 Examinations, and Lien Avoidance Actions.
Case 8:20-bk-13359-TA   Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56   Desc
                        Main Document    Page 52 of 55




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                        Main Document    Page 53 of 55




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Case 8:20-bk-13359-TA      Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56   Desc
                           Main Document    Page 54 of 55

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2448 Historic Decatur Rd
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Sherman Oaks, CA 91423


DPI Retail
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El Segundo, CA 90245


GM Financial
PO Box 78143
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Internal Revenue Service
Ogden, UT 84201


J.S. Lim Trust, LLC
13038 Bigelow St
Cerritos, CA 90703


JPMorgan Chase NA
PO Box 15299
Wilmington, DE 19850
Case 8:20-bk-13359-TA      Doc 1 Filed 12/09/20 Entered 12/09/20 14:20:56   Desc
                           Main Document    Page 55 of 55

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